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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

  MERCEDES BENZ USA LLC,

                        PLAINTIFF,

           -AGAINST-                               No.: 19 Civ. ______ (___)

  DANIEL BOMBARDIER


                        DEFENDANT.


                                     COMPLAINT

      Plaintiff Mercedes Benz USA, LLC (“MBUSA”), by its attorneys, Quinn

Emanuel Urquhart & Sullivan, LLP, brings this action against Defendant Daniel

Bombardier and for its Complaint alleges as follows.

                               NATURE OF THE ACTION

      1.        This is a civil action under the Declaratory Judgment Act seeking to

validate MBUSA’s depiction of Defendant’s graffiti mural in one of MBUSA’s

Instagram posts about its G 500 Series truck.

      2.        MBUSA is an automotive brand that showcased the newest model of

its G Class, the G 500, at the North American International Auto Show in January

2018 in Detroit, Michigan. The G 500 is engineered as a luxury SUV with off-road

capabilities.
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       3.     Around this time, MBUSA obtained a permit from the city of Detroit

to photograph various locations throughout the city. In compliance with this permit,

MBUSA commissioned photographs of the G 500 truck parked and driving through

the streets of Detroit.

       4.     On January 26, 2018, MBUSA posted to its Instagram account,

@mercedesbenz, six photographs depicting the G 500’s journey through Detroit.

The post contained the following caption: “[t]his off-road legend is always ready for

some urban exploration to mix things up.” The post was designed to highlight the

versatility of the G 500–it has off-road capabilities, but also thrives in the city.

       5.     The background of one of these six photographs—the fifth of the post—

depicted a partially obstructed and blurred image of a mural that Defendant had

painted on a building. Defendant’s mural was created under the auspices of a

program, called the Murals in the Market Festival, that was conceived for various

functional reasons, such as improving the visual appearance of Detroit’s cityscape,

drawing tourists to the Eastern Market District of Detroit, increasing traffic, and

improving safety.

       6.     In March 2019, over a year after MBUSA published this Instagram

post, Defendant Daniel Bombardier, a Canadian stencil and mural artist, threatened

to file a copyright infringement lawsuit against MBUSA based on MBUSA’s

depiction of Defendant’s mural in the photograph and post. MBUSA respects artists


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and the arts; it regularly partners with cultural institutions and supports art festivals

to advance the arts. Therefore, as a courtesy, MBUSA immediately removed the

entire Instagram post from its account.

      7.     Nonetheless, Defendant’s attorney continued making threats against

MBUSA, claiming that Defendant desires to “expose” MBUSA, use formal

discovery to learn information other people can use to sue MBUSA, and tell a jury

that MBUSA made $80 million selling the G series truck in an effort to wipe out

MBUSA’s revenue from sales of the G Series.

      8.     MBUSA did not infringe Defendant’s alleged copyright and therefore

refused to credit this aggressive shakedown effort.

      9.     MBUSA files this declaratory judgment lawsuit to resolve Defendant’s

baseless claims and obtain declaratory judgments that (1) the photograph and

January 2018 Instagram post depicting Defendant’s mural did not infringe

Defendant’s alleged copyright; (2) MBUSA made fair use of Defendant’s mural; (3)

Defendant’s mural is exempt from protection under the Architectural Works

Copyright Protection Act; (4) MBUSA did not violate the prohibition under the

Digital Millennium Copyright Act against falsifying or intentionally removing or

altering copyright management information; and (5) the photograph and post did not

violate any of Defendant’s other alleged rights.




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                                       PARTIES

       10.    Plaintiff MBUSA is a Delaware limited liability company.

       11.    Defendant Daniel Bombardier created the mural depicted in the fifth

photograph of MBUSA’s January 26, 2018 Instagram post. Upon information and

belief, Bombardier is a resident of Canada.

                               JURISDICTION AND VENUE

       12.    Because this action arises under the copyright laws of the United States,

17 U.S.C. §§101 et seq., this Court has subject matter jurisdiction under 28

U.S.C. §§ 1331 and 1338, and the Declaratory Judgment Act, 28 U.S.C. §2201.

       13.    The Court has personal jurisdiction over Defendant Daniel Bombardier

because events giving rise to the claims occurred in Michigan.

       14.    Venue is proper in this District under 28 U.S.C. § 1391 and 28 U.S.C.

§ 1400 because a substantial part of the events giving rise to the claims occurred in

this District and because, upon information and belief, Defendant regularly does or

solicits business in this District.

       15.    A case or controversy exists between the parties because Defendant has

threatened to sue MBUSA, has accused MBUSA of copyright infringement and

violating the Digital Millennium Copyright Act, and demanded that MBUSA cease

and desist from using the photograph and post depicting his mural.




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                              FACTUAL ALLEGATIONS

      I.      MBUSA Unveils its New G 500 at the Annual Auto Show and
              Publishes an Instagram Post About the Truck’s Versatility.
      16.     MBUSA is an automobile brand that is known for its luxury cars,

trucks, buses, and other vehicles.

      17.     In January 2018, MBUSA unveiled the G 500 truck from its newly

designed 2019 G Class at the North American International Auto Show. The show

was held at the Cobo Center in Detroit, Michigan.

      18.     MBUSA redesigned the new G 500 to be an improved off-road friendly

version of its luxury truck, with additional space for passengers and storing

belongings.

      19.     The G Class debuted a newly engineered double-wishbone front

suspension, rigid rear axle, and electronic power steering—all intended to enhance

the driving experience and precision on unexpected terrain.

      20.     While in Detroit, MBUSA obtained a Still Photography & B-Roll

permit from the Detroit Film Office to photograph its vehicles in the following four

areas: (1) Eastern Market – 1314 Gratiot Avenue; (2) Belle Isle; (3) Motown

Museum – 2648 West Grand Blvd.; and (4) Russel Industrial Center – 1600 Grand

Boulevard. The permit was valid between January 15 and 16 of 2018. A copy of

that permit is attached as Exhibit A.



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      21.    In compliance with the permit, MBUSA commissioned a series of

photographs of the G 500 driving through the streets of Detroit. On January 26,

2018, MBUSA published a post on its Instagram account, @mercedesbenz, that

featured a series of six photographs showcasing the G 500’s versatility. The post

contained the following caption: “This off-road legend is always ready for some

urban exploration to mix things up.”

      22.    All six of the photographs in MBUSA’s post featured the G 500 in

various locations throughout Detroit. The background of the sixth photograph

depicted, among other things, a partially obstructed and blurred image of graffiti art

created by the Defendant, an artist named Daniel Bombardier a/k/a DENIAL:




      23.    A picture of Defendant’s full mural is reproduced below:




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      24.    In March 2019, Defendant threatened to sue MBUSA for copyright

infringement if MBUSA did not pay him a substantial sum of money. MBUSA

immediately removed the Instagram post from its account, as a courtesy, but refused

to validate this aggressive shakedown. MBUSA now files this declaratory judgment

complaint to resolve the parties’ dispute.

      II.    The January 2018 Post Transformed the Aesthetic And Meaning
             Of Defendant’s Mural and Used Only a Minimal Amount of the
             Mural.
      25.    As would be plain to any reasonable observer, MBUSA’s January 2018

Instagram post—which depicts only a minimal amount of Defendant’s mural in the

background of the fifth photograph in the series—fundamentally transformed the

visual aesthetic and meaning of Defendant’s mural.

      26.    The January 2018 post differs visually from Defendant’s mural in the

following ways, at a minimum:
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              a.    The photograph in the January 2018 post is not static—it is an

action photo that is partly blurred to highlight the vehicle’s speed and movement

throughout the city streets.

              b.    Defendant’s mural is slightly blurred in the January 2018 post.

              c.    Defendant’s mural is viewed from the side (as opposed to straight

on) and depicted at a steep, oblique angle in the photograph—an aesthetic that is

designed to draw the viewer’s focus immediately to the G 500, not the mural.

              d.    A portion of Defendant’s mural is outside the frame of the

photograph, and an even larger portion is obstructed by the G 500 and a telephone

pole.

              e.    Defendant’s mural is not the centerpiece of the photograph or the

series of six photographs—it appears only because it was integrated into the

cityscape that MBUSA included as part of the background, with the city of Detroit’s

permission, to highlight the G 500’s capabilities in city driving.

        27.   These readily observable differences between the January 2018 post

and Defendant’s mural, among others, give the January 2018 post an entirely

different aesthetic than Defendant’s mural.

        28.   The January 2018 post also may reasonably be perceived to convey a

different meaning than Defendant’s mural.         The caption of the post and the

photograph’s distinct aesthetic communicate the versatility of the G 500: it is an


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off-road vehicle that is always ready for some “urban exploration.” The series of

photographs shows the truck driving throughout the city. That is the focus and

message of the post, not the meaning or message of the art.

      29.    By contrast, Defendant is known for creating art that critiques

consumerism and the human condition.

      30.    Defendant’s mural cannot reasonably be perceived to communicate

messages about the versatility of the G 500, off-road cars driving in the city, or any

other message that substantially overlaps with MBUSA’s Instagram post.

      III.   The January 2018 Post Did Not Usurp The Market for Defendant’s
             Mural.
      31.    Upon information and belief, Bombardier is a stencil and mural artist

who has created works all over Canada and the United States as commentary on

consumerism and the human condition.

      32.    MBUSA’s January 2018 post, including the G 500, and Defendant’s

mural do not target the same audiences.

      33.    MBUSA’s January 2018 post, including the G 500, and Defendant’s

mural do not target the same commercial markets.

      34.    Defendant’s mural is part of a larger effort to attract tourism to the

Eastern Market District of Detroit. MBUSA’s January 2018 post was not created

for this purpose or a related purpose.



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       35.    Upon information and belief, the January 2018 post has not decreased

demand in the market for Defendant’s mural or depictions of Defendant’s mural.

       36.    Upon information and belief, Defendant’s mural has been frequently

reproduced on the internet, without charge.

       IV.    The Defendant’s Mural Is Integral to the Detroit Cityscape And
              Serves A Functional Purpose.
       37.    Defendant’s mural was created in 2017 for the third annual Murals in

the Market Art Festival (“MITM”).

       38.    MITM is an annual art festival that was started in 2015 and is held in

the Eastern Market district of Detroit. MITM lasts approximately 10 days, during

which festival visitors can watch artists create their works and enjoy food, music,

tours, and workshops. Though MITM has much to offer, the centerpiece of the

festival is the street art.

       39.    MITM is organized and produced primarily by 1xRUN (one-time run)

and Eastern Market Corporation.

       40.    Upon information and belief, 1xRUN is a publishing company that was

started in the Eastern Market.

       41.    Upon information and belief, the Eastern Market Corporation is a

nonprofit organization that manages the Eastern District.

       42.    The Eastern Market Corporation’s stated mission is to “manage

operations, develop programs, build facilities, provide critical infrastructure, and

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collaborate with community partners to: [s]trengthen the Eastern Market District as

the most inclusive, resilient, and robust regional food hub in the United States[;

f]ortify the food sector as a pillar of regional economic growth[; and i]mprove access

to healthy, green, affordable, and fair food choices in Detroit and throughout

Southeast    Michigan.”           Building        the   Market,   EASTERN       MARKET,

https://www.easternmarket.org/district/building-the-market (last visited March 28,

2019).

      43.    In furtherance of that mission, the Eastern Market Corporation

collaborated with 1xRUN beginning in 2015 to start MITM, which was part of a

larger effort to reinvigorate the Eastern Market, “into a must-see destination for arts,

as   well    as   food . . . .”     See      About,     MURALS    IN      THE   MARKET,

https://www.muralsinthemarket.com/about (last visited Mar. 28, 2019).                 In

accomplishing this goal, MITM brings art and culture to the district by showcasing

hundreds of public works.

      44.    MITM invites artists from all over the world to showcase their art style

during the festival, which consists largely, though not exclusively, of murals. The

artists create their works over the 10-day festival period, and the final product

becomes a permanent part of the Eastern Market cityscape.

      45.    Since its inception, MITM has resulted in over 150 murals throughout

the Eastern Market, which has had “a significant visual impact on the surrounding


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neighborhood as well as increased traffic, additional economic development, and

increased     safety.”          See    About,     MURALS        IN    THE      MARKET,

https://www.muralsinthemarket.com/about (last visited Mar. 28, 2019). Due to the

festival’s success, the murals scattered across the Eastern Market have become a

tourist destination, and the festival itself has been named one of the best in the world.

      46.    Defendant’s mural was created as a part of this project in 2017, see

2017 Murals, MURALS IN THE MARKET, https://www.muralsinthemarket.com/murals

(last visited Mar. 28, 2019).

      47.    As part of the MITM, Defendant’s mural was created for the functional

purposes set forth in Eastern Market Corporation’s mission statement, including

increasing tourism, traffic, economic development, and safety in the Eastern Market.

      48.    As part of the MITM, Defendant’s mural was intended to be integrated

into the Detroit cityscape to improve the visual appearance of the city and enhance

the appeal of the Eastern Market to tourists.

      49.    As part of the MITM, upon information and belief, Defendant’s

creation of the mural was governed or constrained by the purposes of the MITM

festival and the Eastern Market Corporation’s mission.




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                           FIRST CAUSE OF ACTION
                 Declaratory Judgment of Non-Infringement
        Under 28 U.S.C. § 2201, et seq. (Declaratory Judgment Act) and
                   17 U.S.C. § 101, et seq. (Copyright Act)
      50.      MBUSA incorporates all of the above allegations as if they were fully

stated here.

      51.      A real and actual controversy exists between MBUSA and Defendant

as to whether MBUSA’s photograph and post depicting Defendant’s mural infringes

Defendant’s alleged copyright.

      52.      MBUSA is entitled to a judgment declaring that its Instagram post of a

photograph depicting Defendant’s mural does not infringe Defendant’s alleged

copyright, because the photograph is not a copy of, a phonorecord of, derivative

work based on, a performance of, a display of, or a transmission of the mural, and at

most amounts to a de minimis use of the mural.

                          SECOND CAUSE OF ACTION
                     Declaratory Judgment of Fair Use
        Under 28 U.S.C. § 2201, et seq. (Declaratory Judgment Act) and
                   17 U.S.C. § 101, et seq. (Copyright Act)
      53.      MBUSA incorporates all of the above allegations as if they were fully

stated here.

      54.      A real and actual controversy exists between MBUSA and Defendant

as to whether MBUSA’s photograph and Instagram post depicting Defendant’s

mural made fair use of the mural.


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      55.      MBUSA transformed the meaning, message, and aesthetic of the mural.

      56.      The amount and substantiality of the mural depicted in MBUSA’s

photograph was minimal.

      57.      MBUSA’s photograph and post depicting Defendant’s mural will not

have a material effect on the market or potential market for the mural.

      58.      MBUSA is entitled to a judgment declaring that it made fair use of the

mural in its photograph and Instagram post.

                           THIRD CAUSE OF ACTION
          Declaratory Judgment of Exemption Under the AWCPA
        Under 28 U.S.C. § 2201, et seq. (Declaratory Judgment Act) and
                   17 U.S.C. § 101, et seq. (Copyright Act)
      59.      MBUSA incorporates all of the above allegations as if they were fully

stated here.

      60.      A real and actual controversy exists between MBUSA and Defendant

as to whether the mural is exempt from protection under the Architectural Works

Copyright Protection Act (“AWCPA”), based upon the terms of 17 U.S.C. § 120(a).

      61.      Defendant’s mural was integrated into the façade of a building and the

Detroit cityscape.

      62.      Defendant’s mural was created for a functional purpose.

      63.      Upon information and belief, Defendant’s mural was created within the

constraints, guidelines, or purposes of the MITM.



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      64.      MBUSA is entitled to a judgment declaring that the mural is part of an

architectural work, within the meaning of § 120(a), and is therefore exempt from

protection under the AWCPA.

                          FOURTH CAUSE OF ACTION
            Declaratory Judgment of Non-Violation of the DMCA
        Under 28 U.S.C. § 2201, et seq. (Declaratory Judgment Act) and
         17 U.S.C. § 1201, et seq. (Digital Millennium Copyright Act)

      65.      MBUSA incorporates all of the above allegations as if they were fully

stated here.

      66.      MBUSA did not remove or alter any of Defendant’s alleged copyright

management information when publishing the January 2018 post.

      67.      To the extent MBUSA did remove any such copyright management

information, it did not do so intentionally.

      68.      MBUSA requests a declaratory judgment that its January 2018 post and

photograph depicting Defendant’s mural did not violate the prohibition under the

Digital Millennium Copyright Act against falsifying or intentionally removing or

altering copyright management information.




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                             FIFTH CAUSE OF ACTION
                              Declaratory Judgment
            Under 28 U.S.C. § 2201, et seq. (Declaratory Judgment Act)

      69.      MBUSA incorporates all of the above allegations as if they were fully

stated here.

      70.      MBUSA did not breach any alleged duty to Defendant, or violate

Defendant’s alleged rights, by using a photograph of its G 500 truck depicting a

blurred portion of Defendant’s mural in the background.

      71.      MBUSA is therefore entitled to a judgment declaring that its use of

Defendant’s mural in the January 2018 post did not violate any of Defendant’s

alleged rights.

                                PRAYER FOR RELIEF

WHEREFORE, MBUSA demands judgment as follows:

    Declaring that MBUSA’s photograph and post depicting Defendant’s mural
     do not infringe upon Defendant’s alleged copyright;

    Declaring that MBUSA’s photograph and post depicting Defendant’s mural
     made fair use of the mural; and

    Declaring that Defendant’s mural, as depicted in MBUSA’s photograph and
     post, is exempt from protection under the AWCPA;

    Declaring that the post did not violate any of Defendant’s alleged rights;

    Declaring that MBUSA did not violate the prohibition under the Digital
     Millennium Copyright Act against falsifying or intentionally removing or
     altering copyright management information;

    Awarding MBUSA the cost of suit as incurred in this action and attorneys’
     fees under 17 U.S.C. § 505; and
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   Awarding MBUSA all other relief as may be appropriate.


                                    Respectfully Submitted,
Dated: March 29, 2019
       New York, New York           QUINN EMANUEL URQUHART & SULLIVAN LLP

                                By: s/Edward DeFranco
                                   Edward DeFranco
                                   Luke Nikas (admission application to be
                                   filed)
                                   Maaren A. Shah (admission application to be
                                   filed)
                                   51 Madison Avenue, 22nd Floor
                                   New York, New York 10010
                                   Tel : (212) 849-7000
                                   Fax : (212) 849-7100
                                   eddefranco@quinnemanuel.com
                                   lukenikas@quinnemanuel.com
                                   maarenshah@quinnemanuel.com

                                    MILLER, CANFIELD, PADDOCK & STONE, PLC

                                    A. Michael Palizzi (P47262)
                                    Caroline B. Giordano (P76658)
                                    150 West Jefferson, Suite 250
                                    Detroit, Michigan 48226
                                    Tel: (313) 496-7645
                                    Fax: (313) 496-8454
                                    palizzi@millercanfield.com
                                    giordano@millercanfield.com

                                    Attorneys for Plaintiff Mercedes Benz USA,
                                    LLC




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JS44 (Rev. 05/17)                                                         CIVIL COVER SHEET                                              County in which action arose; Wayne_____________

The .IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the JudicialI Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket .sheet. (SEE INSTRUCTIONS ON.NEXT PAGE OF THIS FORM.)

L(a) PLAINTIFFS                                                                                            DEFENDANTS
Mercedes Benz USA LLC                                                                                      Daniel Bombardier


         (b) County of Residence of First Listed Plaintiff New Castle. Deleware                            County of Residence of First Listed Defendant ________________
                               (EXCEPTIN U.S. PIAINTIFF CASES)                                                                    (IN U.S. PIAINTIFF CASES ONLY)
                                                                                                           NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (IfKnown)
Edward DeFranco, Quinn Emanuel Urquhart & Sullivan, LLP                                                     Jeffrey Gluck, Gluck Law Firm P.C.
51 Madison Avenue, 22nd Floor, New York, New York 10010                                                     602 N. Sweetzer Avenue, Los Angeles, California 90048
(212) 849-7000                                                                                              (310)776-7413


II. BASIS OF JURISDICTION (Placean “X" in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Phcean “X" mOne HoxforPlaimiff
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               Plaintiff                       (U.S. Government Not a Party)                      Citizen of This State
                                                                                                                                          of Business In 'Hiis State

02          U.S. Government           n4     Diveraity                                            Citizen of Anotlier State        n 2      n 2     Incorporated and Principal Place   ■ 5     Ds
               Defendant                       (Indicate Citizenship ofParties in Item III)                                                            of Business In Another State

                                                                                                  Citizen or Subject of a          □3       □ 3     Foreign Nation                     □6      He
                                                                                                    Foreign Countiv
I V. NATURE OF SUIT (Place an “X" in One Box Only)                                                                                           Click here for: Nature of Suit Code Descriptions.
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                                                                  ^ 463 Alien Detainee
                                                                                                   □ 791 Employee Retirement
                                                                                                         Income Security Act
                                                                                                                                       □ 870 Taxes (U.S. Plaintiff
                                                                                                                                             or Defendant)
                                                                                                                                                                       □ 896 Arbitration
                                                                                                                                                                       □ 899 Administrative Procedure
                                                                                                                                       □ 871 IRS—Third Party                  Act/Review or Appeal of
n 230 Rent Lease & Ejectment
    □□
  240 Toits to Land                   B442 Employment
                                       443 Housing/
                                                                  U 510 Motions to Vacate
                                                                         Sentence                                                            26 USC 7609                      Agency Decision
  245 Tort Product Liability
□ 290 All Other Real Property
                                           Acconunodations
                                     □445 Amer. w/DivSabilities -
                                           Employment
                                                                      B
                                                                     530 General
                                                                     535 Dcatli Penalty
                                                                     Other:
                                                                                                        IMiVIIGRATION
                                                                                                  C 462 Naturalization Application
                                                                                                                                                                       □ 950 Constitutionality of
                                                                                                                                                                              State Statutes

                                     □446 Amer. w/Disabilitics -
                                           Other
                                     □448 Education
                                                                      B
                                                                     540 Mandamus & Otlier
                                                                     550 Civil Rights
                                                                  □ 555 Prison Condition
                                                                                                  □ 465 Other Inuiiigration
                                                                                                        Actions

                                                                      □
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
    V. ORIGIN (Place an 'X" in One Box Only)
    ■I       Original
             Proceeding
                              □2   Removed from
                                   State Court
                                                           □ 3        Remanded from
                                                                      Appellate Court
                                                                                              □ 4 Reinstated or
                                                                                                  Reopened
                                                                                                                  □ 5 Transferred from
                                                                                                                         Another District
                                                                                                                                                   O 6 Multidistrict
                                                                                                                                                           Litigation -
                                                                                                                                                                        □ 8 Multidistriot
                                                                                                                                                                              Litigation -
                                                                                                                         (specify)                         Transfer          Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite Jiirkdiclioniil slalnles unless diversity):
                                           28 U.S.C. §2201,etseq.; 17U.S.C. § lOl.etseq.; 17 U.S.C. §1201, et seq.__________________________________________________________
    VI. CAUSE OF ACTION                    Brief description of cause:
                                           Declaratory action for declarations of non-infringement, fair use, exemption from protection under the AQCPA; non violation of DMCA; etc.
    VIl. REQUESTED IN                      □ CHECK IF THIS IS A CLASS ACTION                     DEMAND $                                       CHECK YES only if demanded in complaint:
         COMPLAINT:                            UNDER RULE 23, F.RCv.P.                                                                            .JURY DEMAND:              □ ycs Hno
    VIII. RELATED CASE(S)
                                              (See insiruclions):
                                                                    111 15 (5 re/akei iv ■,                      A                     Ctnci
          IF ANY                                                      JUDGE     hi5LlsD V.                                                  DOCKET NUMBER
    DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
    March 29, 2019
    FOR OFFICE USE ONLY

          RECEIPT #                AMOUNT                                    APPLYING IFP                                     .lUDGE                        MAG. .lUDGE
              Case 2:19-cv-10951-AC-EAS ECF No. 1 filed 03/29/19             PageID.19    Page 19 of 19

PURSUANT TO LOCAL RULE 83.11
1.                Is this a case that has been previously dismissed?                        Yes
                                                                                          ■ No
     If yes, give the following information:

     Court:

     Case No.:

     Judge:



2.                Other than stated above, are there any pending or previously
                  discontinued or dismissed companion cases in this or any other            Yes
                  court, including state court? (Companion cases are matters in which     ■ No
                  it appears substantially similar evidence will be offered or the same
                  or related parties are present and the cases arise out of the same
                  transaction or occurrence.)

     If yes, give the following information:

     Court:

     Case No.:

     Judge:


 Notes:
